      Case 1:03-cr-00331-CKK Document 1051 Filed 09/17/18 Page 1 of 3



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                  )
          Plaintiff,                       )
                                           )      CASE NO. 03-331 (CKK)
vs.                                        )
                                           )
WALDEMAR LORENZANA-LIMA,                   )
        Defendant.                         )
                                           )


              MOTION TO WITHDRAW AS COUNSEL OF RECORD


        Movant, Joaquin Perez moves this court for the entry of an Order granting

him leave to withdraw from further representation. In support thereof movant

would show:

1.      On February 22, 2013, Movant filed his entry of appearance on behalf on

defendant Waldemar Lorenzana-Lima. (DE 351)

2.      On January 1, 2010 Eduardo Balarezo filed his Notice of Appearance (DE

194). On August 1, 2014, Mr. Balarezo was appointed by the court to represent

Defendant Lorenzana-Lima. (DE 498)

3.      An irreconcilable conflict exists that prevent the undersigned from further

representing Mr. Lorenzana-Lima in this cause. At an ex-parte proceeding the

undersigned will advise the court of the nature of the conflict. The undersigned

had a lengthy telephone conference with Mr. Lorenzana-Lima witnessed by Dr.

Sonia Ruiz. At the conclusion of the conversation Mr. Lorenzana-Lima advised

the undersigned that he did not want him as an attorney anymore and
     Case 1:03-cr-00331-CKK Document 1051 Filed 09/17/18 Page 2 of 3



arrangements had already been made to have Mr. Balarezo present at the

hearing of September 28, 2018.

4.     The undersigned has complied with the court order of September 14, 2018

and has provided attorney Balarezo with the response requested by the court

(Exhibit A).

5.     Defendant’s right to counsel will not be impaired as a result of the granting

of this motion as Mr. Balarezo still remains as attorney of record and will continue

to adequately represent Mr. Lorenzana-Lima’s Sixth Amendment right.

       WHEREFORE, Defendant prays for the entry of an Order granting him

       leave to withdraw from the case.



                                                 Respectfully submitted,

                                                 /s/ Joaquin Perez

                                                 JOAQUIN PEREZ, ESQ.
                                                 Counsel for Defendant
                                                 6780 Coral Way
                                                 Miami, Florida 33155
                                                 Tel: (305) 261-4000
                                                 Fax: (305) 662-4067
                                                 D.C. Bar No.: 989889
                                                 jplaw1@bellsouth.net
   Case 1:03-cr-00331-CKK Document 1051 Filed 09/17/18 Page 3 of 3




                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 17, 2018 a true and correct
copy of the foregoing was electronically filed via the CM/ECF system which
will send copies to all parties of record.

                                            /s/ Joaquin Perez
                                           Joaquin Perez, Esq.
